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E)<hibit 1

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Although you should read that if you have time. It's Worth it. Imt`ao

¢ January 31

 

1/31, l:46pm
Leah O'Shea

My new phone number is (417) 812-3381 but it vvill not be activated until tomorrow My
landline is (603) 383-3166. l know you're rightfully furious With me, but l hope you Will at least
let rne explain Your friendship (or at the very least, that you don't believe I'd Say those terrible
things about you) is more important to me than any job.

l'rn sorry l let you all down, lcarus.

 

1/31, lt49prn
Icarus Deum Verum

Well lwill always think of you as a friend

You did let me down

 

1/31, 1:52pm
Leah O'Shea

I know. l'm not even going to try and make any excuses Let me know vvhen you're ready to talk.

 

1/31 , 2100pm
learus I)eunl Verum

l'm just sitting in a loud restaurant l don't know what there is to say.
This guy tried to blackmail me and outed me

tried to get you fired

 

° ' .
1/31, 2:Olprn
Leah O'Shea

EXHIBIT

l

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l know

 

l/3l, Z:Olpm

Icarus Deum Verum

and you STILL talked to him

then shared our convos

he has screenshots of convos that I know I had with you

lt doesn't make any sense; like what did you get out of it?

how did you let this guy pay for your phone bill

 

1/31, 2:02pm
Leah O'Shea

I wasn't thinking straight at all.

l didn't

l paid it

I fucked up

But you know 1 told you his plan immediately

l got in over my head.

 

1/31, 2103pm
Icarus Deum Verum

you told me that you knew he was going to do xyz

l thought this was through someone else

 

1/31, 2:03pm

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Leah O'Shea

l have a timeline of events and all the conversations l had with him right before he did all this.

 

1/31, 2:03pm
Icarus I}eum Verum

l'm just blown away

 

1/31, 2:04pm
Leah O’Shea

He admits he lied and only wants revenge and will do anything to get it.

The only reason (not excuse, there is none) l can give you is that l was not at all myself. PTSD,
major concussion, suicidal. l don't remember things I did. I should have taken a leave of absence.

 

q .
1/31, 2106pm
Leah O'Shea

 

l/3 l, 2:{)6pm
Icarus Deum Verum

l can't think of how l\/latt and l could have been any better to you

 

1/31, 2:06pm
Leah O‘Shea

I'd like for you to read that at some point

 

1/3 l, 2:07pm
Icarus I}eum Verum

you did take off

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you took off for a long time
we let you do as you please
you went 3 months basically out of whack ~ not engaged

and we just let it happen

 

1/31,2;07pm
Leah O'Shea

l should have removed myself from work all together
l checked in daily, but l hear you.

l have felt like every time we get footing, something maj or changes that I have no control over
and that does frustrate me. l'm sorry, Icarus.

 

1/31, 2:08pm
Icarus Deum Verum
l really am just floored

you don't befriend the person who tried to blackmail you

and tried to get you fired

 

1/31, 2:09pm
Leah O'Shea

More because of the things you think l said about you that I didn't say

I know

 

1/31, 2:09pm
Icarus ])eum Verum

and outed me

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1/31, 2:09pm
Leah O'Shea

l didn't make good choices

That part..

 

1/31, 2:O9pm
Icarus ])eum Verum

you shared private convos
period
that's undeniable

forget that you ripped us to shreds

 

1/31, 2:09pm
Leah O'Shea

I promise you I did not realize the extent of his "outing"

 

1/31, 2:10prn
Icarus Deum Verum

you shared our convos - private business communications

how could you not realize that extent

 

i/31, 2:lOpm
Leah O'Shea

That bothers me more than anything though because I didn't say most of those things

 

